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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                   * MDL NO. 1873
       FORMALDEHYDE PRODUCTS                          *
       LIABILITY LITIGATION                           * SECTION “N” (5)
                                                      *
                                                      * JUDGE ENGELHARDT
                                                      * MAGISTRATE CHASEZ
                                                      *
THIS DOCUMENT IS RELATED TO:                          *
                                                      *
Jefferson, et al., v. Gulf Stream Coach, Inc. et al., *
EDLA Case No. 09-4981                                 *
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                 PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL


       The Named Plaintiffs in the above captioned matter, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby give notice of their dismissal of claims without prejudice against

Defendants CH2M Hill Constructors, Inc., and Fluor Enterprises, Inc., only. This dismissal does

not affect their claims against the remaining defendants, Gulf Stream Coach, Inc., Shaw

Environmental, Inc., and the United States of America through the Federal Emergency

Management Agency.

                                    Respectfully submitted:
                                    GAINSBURGH, BENJAMIN, DAVID,
                                    MEUNIER & WARSHAUER, L.L.C.

                                    BY:    s/Gerald E. Meunier
                                           GERALD E. MEUNIER, #9471
                                           JUSTIN I. WOODS, #24713
                                           Gainsburgh, Benjamin, David, Meunier &
                                           Warshauer, L.L.C.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.

                                            s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471
